    Case: 1:24-cr-00056-SJD Doc #: 15 Filed: 05/22/24 Page: 1 of 2 PAGEID #: 33




                                 UNITED STATES DISTRICT COURT                   2D2~ MAY 22 PM 4: 04
                                  SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION

 UNITED STATES OF AMERICA,
                    Plaintiff,
                                                         CASE NO.
                                                                        1114CR 058
                                                         JUDGE
                          v.
                                                                        J. HOPKil~S
                                                         INDICTMENT
 BRIAN BRADLEY,
                                                         18 u.s.c. § 922(0)
                                                         26 U.S.C. § 5861(d)
                    Defendant.


THE GRAND JURY CHARGES:

                                               COUNTl
                                 (Illegal Possession of a Machinegun)

       On or about May 7, 2024, in the Southern District of Ohio, the defendant, BRIAN

BRADLEY, did knowingly possess a machinegun, as defined in 18 U.S.C. § 92l(a)(23), that is, 4

machinegun conversion devices with no manufacturer marks or serial numbers.

       In violation of Title 18, United States Code, Sections 922(0), 921(a)(23), and 924(a)(2).


                                           COUNT2
                        (Receipt or Possession of Unregistered Firearm)

       On or about May 7, 2024, in the Southern District of Ohio, the defendant, BRIAN

BRADLEY, knowingly received and possessed a firearm, that is 46 firearms silencers, not registered

to him in the National Firearms Registration and Transfer Record.

       In violation of Title 26, United States Code, Sections 5841, 5861(d), and 5871.
    Case: 1:24-cr-00056-SJD Doc #: 15 Filed: 05/22/24 Page: 2 of 2 PAGEID #: 34




                                   FORFEITURE ALLEGATION

        Upon conviction of the offense set forth in Count 2 of this Indictment, the defendant, BRIAN

BRADLEY, shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C.

§ 2461(c), any firearms and ammunition involved in or used in such violation including, but not

limited to, a firearms silencer.

                                                     A TRUE BILL

                                                                    1~ 1
                                                     GRAND JURY FOREPERSON

KENNETH L. PARKER
UNITED STATES ATTORNEY



~     YN.BRUCATO
ASSIST ANT UNITED STATES ATTORNEY




                                                 2
